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                   FAX: (559) 441-7115
           4
                   Attorney for Defendant
           5
                   MELISSA VELASQUEZ
           6
                                               IN THE UNITED STATES DISTRICT COURT
           7
                                          FOR THE EASTERN DISTRICT OF CALIFORNIA
           8                                             *****

           9       UNITED STATES OF AMERICA                      |       Case No. 16CR00009 DAD-BAM
                                                                 |
          10                      Plaintiff,             |
                          vs                                     |       NOTICE OF WAIVER OF
          11
                                                                 |       PERSONAL APPEARANCE
          12       MELISSA VELASQUEZ,                            |
                                                                 |
          13                   Defendant.         |
                   _____________________________/
          14
                          Defendant MELISSA VELASQUEZ hereby waives his right to be present in open court
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                   upon the hearing of any motion or other proceeding in this cause, including when the case is
          16
                   ordered set for trial, when a continuance is granted, and when any other action is taken by the
          17

          18       Court before or after trial, except upon arraignment, plea, impanelment of jury and imposition of

          19       sentence.

          20              Defendant requests the Court to proceed during every absence of hers which the Court may

          21       permit, pursuant to this waiver; agrees that her interests will be deemed represented at all times by
          22       the presence of her attorney, James R. Homola, as if Defendant was personally present; and further
          23
                   agrees to be present in person, in court, for trial any day and time the Court may direct.
          24
                          Defendant further acknowledges that she has been informed of her rights under the Speedy
          25
James R. Homola
Attorney at Law
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           1       Trial Act (18 U.S.C. '' 3161-3174), authorizes her attorney to set times and approve delays under

           2       the Act without the Defendant=s physical presence.

           3       Dated: January 10, 2020
                                                                        /s/ Melissa Velasquez
           4
                                                                        MELISSA VELASQUEZ
           5
                   Dated: January 10, 2020
           6
                                                                        /s/ James R. Homola
           7                                                            James R. Homola
                                                                        Attorney for Defendant
           8

           9

          10
                                                              ORDER
          11

          12       IT IS SO ORDERED.

          13          Dated:    January 14, 2020
                                                                    UNITED STATES DISTRICT JUDGE
          14

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